                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN

                                                                       CHAPTER 13
In re:   Lori M. Kessler
                                                                                          15-49327
                                                          ,            CASE NO:
                           Debtor(s).                                  JUDGE              Walter Shapero
                                                          /

                                        ORDER CONFIRMING PLAN

        The Debtor(s)' Chapter 13 plan was duly served on all parties in interest. A hearing on
confirmation of the plan was held after due notice to parties in interest. Objections, if any, have been
resolved. The Court hereby finds that each of the requirements for confirmation of a Chapter 13 plan
pursuant to 11 USC §1325(a) are met.

          Therefore, IT IS HEREBY ORDERED that the Debtor(s)' Chapter 13 plan, as last amended, if at
all, is confirmed.

        IT IS FURTHER ORDERED that the claim of Babut Law Office, P.L.L.C., Attorney for the
Debtor(s), for the allowance of compensation and reimbursement of expenses is allowed in the total
amount of $ 3,500.00 in fees and $ 0.00 in expenses, and that the portion of such claim which has not
already been paid, to-wit: $ 3,000.00 shall be paid by the Trustee as an administrative expense of this case.

        IT IS FURTHER ORDERED that the Debtor(s) shall maintain all policies of insurance on all
property of the Debtor(s) and this estate as required by law and contract.

        All filed claims to which an objection has not been filed are deemed allowed pursuant to 11 USC
§502(a), and the Trustee is therefore ORDERED to make distributions on these claims pursuant to the
terms of the Chapter 13 plan, as well as all fees due the Clerk pursuant to statute.

         IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]

    The Debtor(s) shall remit      % of all tax refunds to which Debtor(s) is/are entitled during the
    pendency of the Plan and shall not alter withholdings without Court approval.

    The Debtor(s)' Plan shall continue for no less than              months.

    The claim of                                                               shall be paid in accordance
    with its duly filed claim unless otherwise ordered by the Court.

    The Debtor(s)' Plan payments shall be increased to $1213.90 per month effective the 7th day of
    December,2015.

    Creditor's rights to object to the last filed Amended Plan are preserved until
                                   .

    Other: In the event that the Debtor fails to make any future Chapter 13 Plan payment, the Trustee may
    submit a notice of Default, served upon the Debtor and the Debtor's counsel and permitting 30 days
    from the service of the notice in which to cure any and all defaults in payments. If the Debtor fails to
    cure the defaults in payments after having been provided with notice under the provisions of this
    order, then the Trustee may submit an Order of Dismissal to the Bankruptcy Court along with an
    affidavit attesting to a failure to make plan payment, and the proceedings may be thereafter dismissed
    without a further hearing, or notice.




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Objections Withdrawn
For Creditor
For Creditor


Approved:

/s/ Tammy L. Terry                                      /s/ Thomas Paluchniak
Tammy L. Terry                                          Thomas Paluchniak P70284
Chapter 13 Standing Trustee                             Babut Law Office, P.L.L.C.
Tammy L. Terry, Trustee                                 Attorney for Debtor(s)
535 Griswold, Ste. 2100                                 700 Towner Street
Detroit, MI 48226                                       Ypsilanti, MI 48198
                                                        (734) 485-7000


 


Signed on December 11, 2015
                                               ____ __/s/ Walter Shapero_    ___
                                                  Walter Shapero
                                                  United States Bankruptcy Judge

 




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